      Case 2:10-cr-00437-WBS Document 311 Filed 10/15/15 Page 1 of 3



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     DERICK NOBLE
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:10-cr-437 WBS
12
                               Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     DERICK NOBLE,                                       RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: The Honorable WILLIAM B. SHUBB

17             Defendant, DERICK NOBLE, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On October 15, 2013, this Court sentenced Mr. Noble to a term of 115 months

25   imprisonment;

26             3.         Mr. Noble’s total offense level was 33, his criminal history category was V, and

27   the resulting guideline range was 210 to 262 months. He received a reduction from the low-end

28   of the range and the mandatory minimum on the government’s motion;

     Stipulation and Order Re: Sentence Reduction          1
      Case 2:10-cr-00437-WBS Document 311 Filed 10/15/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Noble was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Noble’s total offense level has been reduced from 33 to 31, and his amended
5    guideline range is 168 to 210 months. A reduction comparable to the one he received initially
6    produces a term of 92 months imprisonment;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Noble’s term of imprisonment to a term of 92 months. The parties agree this
9    sentence is fair and reasonable pursuant to 18 U.S.C. § 3553(a).
10   Respectfully submitted,
11   Dated: October 9, 2015                             Dated: October 9, 2015
12   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
13
14    /s/ Jason Hitt                                    /s/ Hannah R. Labaree __
     JASON HITT                                         HANNAH R. LABAREE
15   Assistant U.S. Attorney                            Assistant Federal Defender
16   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           DERICK NOBLE
17
18
                                                       ORDER
19
20             This matter came before the Court on the stipulated motion of the defendant for reduction

21   of sentence pursuant to 18 U.S.C. § 3582(c)(2).

22             The parties agree, and the Court finds, that Mr. Noble is entitled to the benefit

23   Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended

24   guideline range of 168 to 210 months. A reduction comparable to the one he received initially

25   produces a term of 92 months imprisonment.

26             IT IS HEREBY ORDERED that the term of imprisonment imposed in October 2013 is

27   reduced to a term of 92 months. This sentence is fair and reasonable pursuant to 18 U.S.C. §

28   3553(a).

     Stipulation and Order Re: Sentence Reduction          2
      Case 2:10-cr-00437-WBS Document 311 Filed 10/15/15 Page 3 of 3



1              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
2    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
3    reduction in sentence, and shall serve certified copies of the amended judgment on the United
4    States Bureau of Prisons and the United States Probation Office.
5              Unless otherwise ordered, Mr. Noble shall report to the United States Probation Office
6    within seventy-two hours after his release.
7    Dated: October 15, 2015
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     Stipulation and Order Re: Sentence Reduction      3
